Case 2:19-cr-00001-JMA-ARL Document 17

ALB:CPK
F. #2014R01966

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

we eee eee eee eee eee eee ee -X
UNITED STATES OF AMERICA
- against -
FRANK JOHN PARASMO,
Defendant.
we eee ee eee ee eee eee eee eee eee x
THE GRAND JURY CHARGES:

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LONG ISLAND OF? ICE

INDICTMENT

CR 19 OO1

(T. 21, U.S.C., §§ 841(a)(1),
841(b)(1)(C), $53(a) and 853(p);
T. 18, U.S.C., §§ 2 and 3551

et seq.)

SPATT, J.
TOMLINSON 4 y

COUNTS ONE THROUGH THIRTY-FIVE
(Distribution of Oxycodone)

Li. On or about the dates set forth below, within the Eastern District of

New York, the defendant FRANK JOHN PARASMO, together with others, did knowingly

and intentionally distribute one or more substances containing oxycodone and containing

hydrocodone, Schedule II controlled substances, to patients whose identities are known to the

Grand Jury, as set forth below, without authorization pursuant to Title 21, United States

Code, Chapter 13, Subchapter I, to wit: the authorization for an individual practitioner acting

in the usual course of his professional practice to issue a prescription for a controlled

substance for a legitimate medical purpose and to dispense a Schedule II controlled

substance.

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COUNT PATIENT | DATE NUMBER | OXYCODONE
OF PILLS | PER PILL
UNLESS
INDICATED AS
HYDROCODONE
ONE BC. January 7, 2014 480 30 milligrams (240)
15 milligrams (240)
TWO W.L. May 8, 2014 150 30 milligrams
THREE W.L. July 10, 2014 150 30 milligrams
FOUR W.L. February 2, 2015 150 30 milligrams
FIVE W.L. December 1, 2014 | 150 30 milligrams
SIX SF. June 2, 2014 120 5 milligrams
SEVEN S.F. July 7, 2015 120 5 milligrams
EIGHT B.H. November 14, 2014 | 580 30 milligrams (500)
15 milligrams (80)
NINE B.H. December 12, 2014 | 580 30 milligrams (500)
15 milligrams (80)
TEN B.H. April 21, 2015 580 30 milligrams (500)
15 milligrams (80)
ELEVEN L.F-A. June 25, 2015 105 30 milligrams
TWELVE L.F-A. December 15, 2015 | 63 20 milligrams
60 40 milligrams
THIRTEEN Jelss June 26, 2014 240 30 milligrams
FOURTEEN J.L. January 15, 2015 240 30 milligrams
FIFTEEN M.M. 1 May 6, 2015 240 30 milligrams (180)
15 milligrams (60)
SIXTEEN L.M. December 28, 2015 | 120 30 milligrams
SEVENTEEN L.M. June 18, 2015 120 30 milligrams
EIGHTEEN C.P. December 4, 2014 | 240 15 milligrams
NINETEEN R.O. February 6, 2015 150 30 milligrams

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COUNT PATIENT | DATE NUMBER | OXYCODONE
OF PILLS | PER PILL
UNLESS
INDICATED AS
HYDROCODONE
TWENTY R.O. June 26, 2015 120 30 milligrams
TWENTY-ONE PP, April 2, 2015 120 10 milligrams
(Hydrocodone)
TWENTY-TWO MS. January 13, 2015 150 30 milligrams
TWENTY-THREE | MS. December 29, 2015 | 90 30 milligrams
TWENTY-FOUR M.M. 2 January 14, 2015 150 30 milligrams
TWENTY-FIVE M.M. 2 August 20, 2015 90 20 milligrams
TWENTY-SIX S.M. January 14, 2015 240 30 milligrams
TWENTY-SEVEN | S.M. August 20, 2015 150 30 milligrams
TWENTY-EIGHT MLR. January 16, 2015 180 30 milligrams
TWENTY-NINE MLR. March 30, 2015 120 30 milligrams
THIRTY MLR. April 23, 2015 90 30 milligrams
THIRTY-ONE ALR. June 12, 2015 180 30 milligrams
THIRTY-TWO OJ, July 16, 2015 120 30 milligrams
THIRTY-THREE L.D. May 28, 2015 20 30 milligrams
THIRTY-FOUR R.W. December 12, 2014 | 180 30 milligrams
THIRTY-FIVE D.W. February 22, 2015 180 5 milligrams

(Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C); Title 18,

United States Code, Sections 2 and 3551 et seq.)

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CRIMINAL FORFEITURE ALLEGATION AS TO ALL COUNTS

a. The United States hereby gives notice to the defendant that, upon his
conviction of any of the offenses charged herein, the government will seek forfeiture in
accordance with Title 21, United States Code, Section 853(a), which requires any person
convicted of such offenses to forfeit: (a) any property constituting, or derived from, any
proceeds obtained directly or indirectly as the result of such offenses, and (b) any property
used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, such offenses.

3: If any of the above-described forfeitable property, as a result of any act
or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) — has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be

divided without difficulty:

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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable
property described in this forfeiture allegation.

(Title 21, United States Code, Sections 853(a) and 853(p))

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FOREPERSON

RebrAD P Devs
RICHARD P. DONOGHUE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

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F#: 2014R01966

FORM DBD-34 No.
JUN, 88

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK

CRIMINAL DIVISION

THE UNITED STATES OF AMERICA

VS.

FRANK JOHN PARASMO,

Defendant.

INDICTMENT

(T. 21, US.C., §§ 841(a)(1), 841(b)(1)(C), 853(a) and 853(p);T. 18,
U.S.C., §§ 2 and 3551 et seq.)

Foreperson

Charles P. Kelly, Assistant U.S. Attorney (631) 715-7866
